         Case:18-05288-EAG11 Doc#:162 Filed:03/29/19 Entered:03/30/19 01:01:40                                               Desc:
                            Imaged Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                                  District of Puerto Rico
In re:                                                                                                     Case No. 18-05288-ESL
SKYTEC INC                                                                                                 Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0104-3                  User: rodriguez                    Page 1 of 1                          Date Rcvd: Mar 27, 2019
                                      Form ID: pdf002                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 29, 2019.
db             +SKYTEC INC,   500 CARR 869,   SUITE 501,   CATANO, PR 00962-2011

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 29, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 27, 2019 at the address(es) listed below:
              ALEXIS FUENTES HERNANDEZ     on behalf of Debtor    SKYTEC INC alex@fuentes-law.com,
               fuenteslaw@icloud.com
              ALFREDO FERNANDEZ MARTINEZ     on behalf of Creditor    ORIENTAL BANK
               afernandez@delgadofernandez.com, aperez@delgadofernandez.com
              Bryan T. Glover,    on behalf of Creditor   LOGISTIC SYSTEMS, INC. bryan.glover@foster.com,
               Sandra.lonon@foster.com;litdocket@foster.com
              CARLOS A RODRIGUEZ VIDAL    on behalf of Creditor    LOGISTIC SYSTEMS, INC.
               crodriguez-vidal@gaclaw.com
              FRANSHESKA JANET PABON    on behalf of Creditor    FIRST BANK PUERTO RICO FPabon@lvvlaw.com,
               NCruz@lvvlaw.com
              MARISTELLA SANCHEZ RODRIGUEZ     on behalf of Debtor    SKYTEC INC msanchez@delgadofernandez.com,
               blopez@delgadofernandez.com;msanchez.ecf@gmail.com
              MARISTELLA SANCHEZ RODRIGUEZ     on behalf of Creditor    ORIENTAL BANK
               msanchez@delgadofernandez.com, blopez@delgadofernandez.com;msanchez.ecf@gmail.com
              MONSITA LECAROZ ARRIBAS     ustpregion21.hr.ecf@usdoj.gov
              SOLYMAR CASTILLO MORALES     on behalf of Creditor    LOGISTIC SYSTEMS, INC. scastillo@gaclaw.com,
               jrosado@gaclaw.com
              Samuel T. Bull,   on behalf of Creditor    LOGISTIC SYSTEMS, INC. sam.bull@foster.com,
               jan.howell@foster.com;litdocket@foster.com
              US TRUSTEE   ustpregion21.hr.ecf@usdoj.gov
                                                                                              TOTAL: 11
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                   Imaged Certificate of Notice Page 2 of 2
